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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7       UNITED STATES OF AMERICA,                         Case No. 20-cr-00086-WHO-1
                                                        Plaintiff,
                                   8
                                                                                             ORDER REGARDING REQUESTS
                                                 v.                                          FOR RELEASE AND DISCOVERY
                                   9

                                  10       ALEJANDRO ALVAREZ,                                Re: Dkt. Nos. 111, 112, 113, and 114
                                                        Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Defendant Alejandro Alvarez has filed two motions.1 First, he requests release from

                                  14   custody because he is at a high risk for getting sick, has been on good behavior for the past four

                                  15   years, and will be compliant with conditions that would protect the public. I have read his motion

                                  16   and his letter to me, appreciate his health concerns and recognize his belief that his arrest was a

                                  17   result of police corruption. I know how long Mr. Alvarez has been in custody. (Some of that time

                                  18   was caused by his repeated terminations of his counsel.) But now there are only two months to go

                                  19   until his trial commences. He is charged with a very serious drug trafficking crime. And, despite

                                  20   his proposed conditions of release, there is a significant risk of flight. With that in mind, I deny

                                  21   his motion for release.

                                  22          Second, Mr. Alvarez requests discovery. The government is directed to respond to his

                                  23   request by February 11, 2022. It shall also lodge with me the unredacted and redacted versions of

                                  24   information already provided to Mr. Alvarez regarding Officer Tursi. After I review the response,

                                  25   I will issue a further order regarding Mr. Alvarez’s discovery motion.

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                                        Standby counsel John J. Jordan secured translations of Mr. Alvarez’s motions, which were
                                  28   written in Spanish, and I assume Mr. Jordan will secure a translation of this Order into Spanish for
                                       Mr. Alvarez. If that is incorrect, Mr. Jordan should contact the Court immediately.
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                                   1          Mr. Alvarez’s letter to me makes broad accusations of corruption. I do not doubt that he is

                                   2   sincere in his beliefs. I want to remind him that at trial, however, the issue is whether he is guilty

                                   3   of the crime charged: knowing and intentional possession with intent to distribute of 500 grams

                                   4   and more of a mixture and substance containing a detectable amount of methamphetamine, its

                                   5   salts, isomers, or salts of its isomers, on or about November 1, 2017. Admissible evidence will

                                   6   need to relate to that charge and not some broader theme that is unrelated to the charge at hand.

                                   7          Although we have held two pretrial conferences already, I will hold a third one at 2 pm on

                                   8   March 21, 2022. The purpose will be to remind the parties of the Court’s procedures for the trial

                                   9   and to address any lingering issues.

                                  10          IT IS SO ORDERED.

                                  11   Dated: February 4, 2022

                                  12
Northern District of California
 United States District Court




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                                                                                                     William H. Orrick
                                  14                                                                 United States District Judge
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